                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

Andrea McKinley,                             Civil Action No. 3:21-cv-241

                   Plaintiff,                 NOTICE OF REMOVAL

       v.

UBS Financial Services, Inc.,

                   Defendant.


                                 EXHIBIT D




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STATE OF NORTH CAROLINA                                 IN THE GENERAL COURT OF JUSTICE
                                                            SUPERIOR COURT DIVISION
COUNTY OF MECKLENBURG
                                                                 CASE NO. 21 CVS 5376

ANDREA MCKINLEY,

               Plaintiff,                                        NOTICE OF FILING
                                                                NOTICE OF REMOVAL
vs.

UBS FINANCIAL SERVICES, INC.,

               Defendant.



       PLEASE TAKE NOTICE that Defendant UBS Financial Services, Inc. has filed a Notice

of Removal in the United States District Court for the Western District of North Carolina, Charlotte

Division, in accordance with 28 U.S.C. §§ 1331, 1441, and 1446. A copy of the Notice of Removal

is attached to this Notice as Exhibit A.

       Pursuant 28 U.S.C. § 1446(d) and North Carolina Rule of Civil Procedure 12(a)(2), the

filing of the Notice of Removal in the federal court and the filing of the attached copy of the Notice

of Removal in this Court shall effect removal, and this Court shall proceed no further unless and

until the federal court remands the matter.




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Dated: May 21, 2021


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                                         Attorneys for Defendant
                                         UBS Financial Services, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 21, 2021, I served the foregoing NOTICE OF FILING OF

NOTICE OF REMOVAL upon the following counsel of record via U.S. Mail, first class, proper

postage affixed thereto and addressed as follows:

                                      Eric Spengler, Esq.
                                 Spengler Agans Bradley, PLLC
                                     325 N. Caswell Road
                                     Charlotte, NC 28204

                                     Attorney for Plaintiff



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                                                    UBS Financial Services, Inc.

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